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                   1   LATHAM & WATKINS LLP                             WILLKIE FARR & GALLAGHER LLP
                       Melanie M. Blunschi (Bar No. 234264)             Benedict Y. Hur (SBN 224018)
                   2   melanie.blunschi@lw.com                          333 Bush Street, 34th Floor
                       Kristin Sheffield-Whitehead (Bar No. 304635)     San Francisco, CA 94104
                   3                                                    Telephone:    415.858.7400
                       kristin.whitehead@lw.com                         Facsimile:    415.858.7599
                   4   505 Montgomery St., Suite 2000                   BHur@willkie.com
                       San Francisco, CA 94111
                   5   Telephone: +1.415.391.0600                       Counsel for Defendant Google LLC

                   6   Andrew B. Clubok (pro hac vice)                  DECHERT LLP
                       andrew.clubok@lw.com                             Brenda R. Sharton (pro hac vice)
                   7                                                    One International Place
                       555 Eleventh Street, NW, Suite 1000              100 Oliver Street
                       Washington, D.C. 20004
                   8                                                    Boston, MA 02110
                       Telephone: +1.202.637.2200                       Telephone:     617.728.7100
                   9                                                    Facsimile:     617.426.6567
                       Michele D. Johnson (Bar No. 198298)              brenda.sharton@dechert.com
                       michele.johnson@lw.com
               10      650 Town Center Drive, 20th Floor                Benjamin M. Sadun
                       Costa Mesa, CA 92626
               11                                                       633 W 5th Street #4900
                       Telephone: +1.714.540.1235                       Los Angeles, CA 90071
               12                                                       Telephone:    617.728.7100
                       GIBSON, DUNN & CRUTCHER LLP                      Facsimile:    617.426.6567
                       Elizabeth K. McCloskey (SBN 268184)
               13                                                       benjamin.sadun@dechert.com
                       Abigail A. Barrera (SBN 301746)
                       One Embarcadero Center, Suite 2600
               14                                                       Counsel for Defendant Flo Health, Inc.
                       San Francisco, CA 94111-3715
                       Telephone:    +1.415.393.8200
               15      EMcCloskey@gibsondunn.com
                       ABarrera@gibsondunn.com
               16
                       Counsel for Defendant Meta Platforms, Inc.
               17      (formerly known as Facebook, Inc.)
               18      [Additional Counsel Listed Below]
               19                                  UNITED STATES DISTRICT COURT
               20                              NORTHERN DISTRICT OF CALIFORNIA
               21                                     SAN FRANCISCO DIVISION
               22      ERICA FRASCO et al.,                      Case No. 3:21-CV-00757-JD (consolidated)

               23                    Plaintiffs,                      DEFENDANTS’ REPLY IN SUPPORT OF
                                                                      MOTION TO EXCLUDE THE EXPERT
               24             v.                                      REPORTS AND TESTIMONY OF SERGE
                       FLO HEALTH, INC., GOOGLE LLC,                  EGELMAN, Ph.D.
               25
                       FACEBOOK, INC., and FLURRY, INC.,
                                                                      Date: April 24, 2025
               26                                                     Time: 10:00 a.m.
                                     Defendants.
               27                                                     Court: Courtroom 11, 19th Floor
                                                                      Hon. James Donato
               28
                                                                       DEFS.’ REPLY ISO MOT. TO EXCLUDE THE
ATTORNEYS AT LAW
                                                                      EXPERT REPS. & TEST. OF SERGE EGELMAN
                                                     FILED UNDER SEAL                CASE NO. 3:21-CV-00757-JD
